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                              EXHIBIT 1
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 DRAFT




                           United States v. Ng Chong Hwa


                        DRAFT TRANSCRIPT OF HAWK MP3


 DATE:                   October 16, 2018 at 4:22pm


 PARTICIPANTS:
         Lim Hwee Bin    LIM
         Tim Leissner    LEISSNER


 KEY:
         [U/I]           Unintelligible
         [SP]            Spelling




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  Special Agent Nathan   Special Agent Nathan Lumby [SP?] of the FBI. I’m here at, uh,
  Lumby                  October 16, 2018, at approximately 4:22pm. Timothy Leissner is
                         going to do a consensual recording with Hwee Bin Lim, beginning
                         now.
                         [phone ringing]
  LIM                    Hi, morning, I’m U/I
  LEISSNER               Good morning, sorry, Hwee Bin. Good morning.
  LIM                    Good morning.
  LEISSNER               It’s a little bit early. I thought I just tried to grab you in case you guys
                         have things to do this morning.
  LIM                    Oh, yeah, Don’t worry because I actually watched a movie until quite
                         late last night. [laughter]
  LEISSNER               Oh my goodness.
  LIM                    How are you?
  LEISSNER               I’m good, I’m good. What were you watching?
  LIM                    No, just one of those Netflix movies. You look good—you look so
                         much better now.
  LEISSNER               Thank you—I thought I always look like this. Maybe, I got, I got a
                         haircut; that’s what I did.
  LIM                    [laughter]. How how how’s things; how’s things?
  LEISSNER               For me, everything is good, um, you know, in, um, was traveling
                         quite a little bit you know in the summer. When we spoke last, I think
                         I was in New York then LA, back to New York and back and forth.
                         What’s—It’s been good. Lots of business. You know, our friends at
                         Celsius are keeping me busy and I think keeping Roger busy. And
                         that’s pretty much it. I mean, all the press that you read, Hwee Bin,
                         little bit crazy. Too too much, you know, and so I wouldn’t, I
                         wouldn’t, worry about those things.
  LIM                    Oh, good good good good good.
  LEISSNER               [laughter]
  LIM                    Good good.


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  LEISSNER            How are you guys?
  LIM                 Um,
  LEISSNER            How is it going with you and Rog?
  LIM                 Yeah, I just want to tell you that, um, when we met—I met the lady
                      master last night. Everything is still intact.
  LEISSNER            Ok, great.
  LIM                 So I, I was, I thought it was very good so I wanted to let you know
                      that.
  LEISSNER            Oh, that’s very sweet.
  LIM                 So I wanted to let you know that, and now—
  LEISSNER            The fung shui is good? The fung shui is good?
  LIM                 Yeah, um, yeah. So things are moving very very, you know, in the
                      right direction.
  LEISSNER            Mhm.
  LIM                 You will have that that up and down and everything, but yes, they
                      said everything’s going to be good for you.
  LEISSNER            That’s great.
  LIM                 So I’m glad, I’m glad, it be, yeah, yeah.
  LEISSNER            Thank you very much. But, I’m happy, because as you know I’m
                      sweating it everyday too, of course. You know, and I’m worried. Um.
  LIM                 Hm, Yeah.
  LEISSNER            Especially with our young friend. You never know with our young
                      friend.
  LIM                 [laughter]
  LEISSNER            I’m very worried about him.
  LIM                 Oh, ok. I don’t know. I mean, I also read from the press right about
                      him sometimes.
  LEISSNER            Mhm.
  LIM                 But I don’t know where, what is out there, what’s he doing and all
                      these things. So.
  LEISSNER            He’s the one I worry the most.


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  LIM                 Everything is just [U/I[ press these days. Yeah. Yeah. And um.
  LEISSNER            How’s Rog doing?
  LIM                 And um . . . Okay—I mean, he’s trying to keep himself busy. I mean,
                      you know, like you said the last time when the press came out that,
                      you know, he vanished, so, from the web. But people read it as
                      another banker being murdered. [laughter]. And, and, and, the rumor
                      has it that one more banker has been murdered.
  LEISSNER            Really? That’s what they said in Malaysia?
  LIM                 Yeah, well, you know, they, they only reads the headline. They read
                      half the headline.
  LEISSNER            Hm.
  LIM                 And, and, that’s how it got, it got, it got, it got, it got passed around
                      and all that stuff, yeah.
  LEISSNER            That’s crazy, Hwee Bin. That’s crazy.
  LIM                 So crazy. Yeah.
  LEISSNER            But no no problems with the authorities and stuff like that? They
                      keeping away from you?
  LIM                 Um, yeah so that’s, that’s why I thought I wanted to call you and then
                      talk to you about. Because um, we, well, have our fair share of
                      things.
  LEISSNER            Hm.
  LIM                 Thing were okay—moving very very, um, moving in the right
                      direction. So, uh, uh, uh, uh talking about authority-wise, there was
                      nothing, uh, that uh, it’s not, it’s not, it’s not penalty. It’s not, um, a
                      legal, legal, basis, you know, they were talking about just looking at
                      uh forfeiture.
  LEISSNER            I see.
  LIM                 Right, so that’s why I wanted to, you know, ask, um, if everything’s
                      okay.
  LEISSNER            I think so, I mean, from my side, there’s no need. I mean, my lawyers
                      are talking to the authorities in America—you know whether it’s the


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                      SEC, the Federal Reserve Bank and everybody. I’m, nobody really
                      has much of a view, to be honest, Hwee Bin, on this side. So, I think,
                      I’m not so sure how they’re working with Malaysia. That’s why I’m
                      interested to see always what Malaysia’s been saying or Singapore
                      whatever you know because it’s really a mystery to me here.
  LIM                 Malaysia Malaysia Malaysia, right, Malaysia has been a lot of
                      forfeiture happening now. They, they, I think uh it comes to the point
                      where, they think, you know, uh they wanted the money back.
  LEISSNER            Mhm.
  LIM                 So, I tried to explain to them, right? That, um, it has always been the
                      case where there was , uh, business ongoing.
  LEISSNER            Mhm.
  LIM                 I told them the truth. I told them that it was an investment.
  LEISSNER            Mhm.
  LIM                 And it was a big thing, you know? And, uh, I don’t believe what was
                      said, I said, right?
  LEISSNER            Mhm.
  LIM                 I did not believe what was said. And um, I think a lot of this was, I
                      felt that it was, “oh, you know, we felt it was like this,” “we felt it
                      was like that. So, hence, uh, we wanted to forfeit.” So, I told them, I
                      said, “no, you cannot just forfeit. Because how can you just forfeit
                      without no, I mean, you want me to just sign an SD to say that you
                      know, you want, you want, you want me to surrender.”
  LEISSNER            Mhm.
  LIM                 Right? I said “I cannot just sign an SD to just say I want to surrender
                      because I am telling you the truth. I’m telling you because there is a
                      real business ongoing uh –there was business. “
  LEISSNER            Mhm.
  LIM                 And that’s how the whole thing happens that way. So, they said, “oh
                      you know, because you cannot provide me any form of documents



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                      and what’s so, what not, how to prove that the, that the, whole thing
                      is yours.”
  LEISSNER            You mean the Capital Place money right? You mean the Capital
                      Place money?
  LIM                 Mm, mm, correct. So, I said “that is so crazy because this thing
                      happened like way back in 2005 and then, you know, the whole and
                      then the investment starts and then we decided to wind down in 2011.
                      And why is it you’re doing this to me. I mean, who kept documents
                      since those days?”
  LEISSNER            Yeah.
  LIM                 And all this things happens in China. I said, “this is very crazy.”
  LEISSNER            Right.
  LIM                 So—yeah, so—I was just hope—
  LEISSNER            So that’s what they’re trying to get. But, is that Malaysia or
                      Singapore? Because, I think that all went into Singapore, but
                      Malaysia.
  LIM                 Malaysia.
  LEISSNER            Hm.
  LIM                 Malaysia.
  LEISSNER            Hm. So they’re working with Singapore, probably, very closely.
  LIM                 Um, I don’t know if they’re really working with Singapore very
                      closely because, um, um, I think I think they’re quite independent of
                      each other now.
  LEISSNER            I see.
  LIM                 It’s not exactly—yeah, yeah.
  LEISSNER            That’s also the feeling I get here you know, I don’t—in America I
                      don’t know I don’t see how they’re working with the other countries.
                      I’m sure they, they do. But, it’s, it’s, um, my lawyers are pretty much
                      handling it now, which is good, because, you know, it leaves me to
                      do whatever I have to do—my little businesses, Celsius and
                      everything. That’s good.


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  LIM                 We have decided we don’t even bother having lawyers here.
  LEISSNER            Really?
  LIM                 We do not even hire lawyers. So, because, um, because the thing is
                      that they come and then they said “oh, you know, all we wanted was
                      to forfeit.” They go around forfeiting almost everyone. I think I think
                      that target was pretty clear. And then things they cannot prove, they
                      say “oh we just want the money back. That’s it.”
  LEISSNER            I see.
  LIM                 Right. You know, but the thing is, it comes to a point where I say,
                      “look you cannot do that to me right? You cannot do that to me
                      because I just cannot just say ‘oh, I’m going to let you have
                      everything.’ How can I? I mean, you, you’ve got to prove to me too
                      as the authority to say that I am, you know, taking what it is.’ But,
                      you are just saying, ‘oh, you know just because of this and that.’ And
                      you refuse to believe me that, you know, there was business in the
                      first place.”
  LEISSNER            Mhm.
  LIM                 And so they were saying, “ok if you can provide any form of
                      documentation, then, um that would be how was it.” So, I thought
                      that was pretty crazy.
  LEISSNER            Yeah.
  LIM                 And they were so insistent and all, you know. Uh, they, they, they
                      think that it was, um, you know, the company was actually, you
                      know, uh, somehow link or related to you or even your. And so we
                      said “no, we never think so and we never believe. And then, it was
                      never the case, at least during the time when we were investing.”
  LEISSNER            Mhm.
  LIM                 So, we were very, very clear about that one. Because we knew it
                      wasn’t, at least at that time. So, I said, “no, I mean, you know, at that
                      time, at least you’re telling me during my time of investment I knew
                      who it was.” Right?


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  LEISSNER            Mhm.
  LIM                 I knew who I was dealing with.
  LEISSNER            Right.
  LIM                 Very clearly.
  LEISSNER            Hm. Interesting.
  LIM                 So that it was it is. Yeah, so.
  LEISSNER            And no word from our friend ever because I don’t, also, by the way,
                      you know, he took me off the WeChat, you know. Nothing ever from
                      him again.
  LIM                 Oh, oh, oh.
  LEISSNER            So, and I think he spread, I think he spread a bunch of rumors around
                      about me, to be honest, also and, which I don’t, quite frankly I didn’t
                      quite understand that, Hwee Bin, but, I don’t know.
  LIM                 I did, I did, I did I did mention to you the last time, right, that was a
                      couple of months back. Yeah.
  LEISSNER            Yeah. But then it’s not right that he spread that rumor. What’s in it
                      for him? Anyways.
  LIM                 I also don’t know. [laughter]. I tell you the way he talks, right? So,
                      we’re just, um, so that’s how I thought well, you know. So, just, just
                      start as a friend, just wanted to see if there is anything, um, you
                      know. But, uh—
  LEISSNER            Nothing.
  LIM                 Whether we have any form of documents, and I mean if you could
                      help me with any form of—
  LEISSNER            Oh, I got you, you mean with Capital Place, with Judy?
  LIM                 Yeah, if she still kept any, any, any, any form of documents. If I
                      could contact her.
  LEISSNER            Yeah, maybe so, maybe so. I would have to tell—I would have to
                      speak with her. You know, we don’t speak that much anymore these
                      days, with Judy. Rarely, and mainly about the girls. That’s about it,
                      that’s about it.


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  LIM                 Oh, okay, I see, I see, okay. Um, okay, maybe I can try to reach
                      her—
  LEISSNER            Yeah.
  LIM                 —and speak to her. Because, I, I was, I was, I was telling I said, okay
                      fine, if you need me to speak, I did mention that. Right? To the
                      authorities, yeah.
  LEISSNER            Mhm, mhm.
  LIM                 That, okay, “if you want me to get the documents I’ll have to speak
                      to her” and then they said “oh, by all means, you speak to her.” So I
                      said, “But, are you sure you want me to speak to her and then you
                      don’t come back to say that ‘oh, you know, I’m talking to someone
                      you shouldn’t be talking to?’ And—"
  LEISSNER            Yeah.
  LIM                 You know all this stuff. And they said “no, you are, you are very
                      welcome to speak to anybody—and we just want your money.”
  LEISSNER            Yeah, it’s tricky, I mean, of course, they’ll say that today and then
                      you’ll go back and say “I spoke to her and here are the documents,”
                      then they may say, you know.
  LIM                 No, no, at Malaysia is—they will either ignore it, but knowing
                      Malaysia, they just want the money.
  LEISSNER            Right, right. So, whatever it is, they’ll just take it.
  LIM                 Mm. Mm.
  LEISSNER            Yeah.
  LIM                 Yeah without prejudice, they’ll take everything without prejudice.
                      Yeah. So, I was telling them, “No, you got to believe me. This is a
                      real, you know, it was an investment. I mean who kept documents, I
                      mean, back in like, you know, those days until now.
  LEISSNER            Yeah.
  LIM                 So they said, “Yeah, you can’t even provide me with anything.”
  LEISSNER            Hm.



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  LIM                 So, I thought, well, that’s so crazy. Yeah, yeah, so, they’ve been um,
                      pressing me to, um, to sign, um, um, um SD to—
  LEISSNER            What’s an, what’s an SD, Hwee Bin?
  LIM                 To—surrender—statutory declaration. To surrender.
  LEISSNER            Oh. Hm.
  LIM                 Yeah, yeah.
  LEISSNER            That sounds pretty crazy.
  LIM                 Yeah, yeah, but otherwise…
  LEISSNER            Hm.
  LIM                 Everything is the same.
  LEISSNER            [laughter]. I hear Roger is busy with Celsius because, you know, I
                      don’t speak to him, but they, you know I speak with the Celsius
                      people. They tell me he’s doing a good job.
  LIM                 Yeah, he’s still running around. He’s still uh trying to sort out the,
                      uh, I heard some, um, getting the approvals for Malaysia and they’re
                      setting up the plant and something like that.
  LEISSNER            Right.
  LIM                 And then also on all other things that you all spoke about, right?
  LEISSNER            Yeah.
  LIM                 Yeah, all those things. I think, um, the last time I heard, he was, uh,
                      said you came up with some very good ideas or something, I heard
                      him talking to John. He said yeah, that’s the good one. And then he
                      said yeah, we should get more involved in that route. Something like
                      that.
  LEISSNER            I can’t remember. The only thing I said to Celsius, was, was that you
                      know, don’t—
  LIM                 He can’t wait to, he can’t wait to work with you again. [laughter]
  LEISSNER            I know, I know, I know because I give, I give my feedback I give my
                      feedback to, you know, to the Celsius folks and then I know they talk
                      to Roger. And then they said to me as well that Roger thought those



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                      were good ideas. But, he cannot travel yet. Can he? No, I guess not.
                      You guys are stuck in KL.
  LIM                 Until, [U/I]. If if I had signed it a month ago, we would’ve been able
                      to travel. If I had signed it two months ago, we would’ve been able to
                      travel.
  LEISSNER            Really? But, this way no?
  LIM                 It was my timing.
  LEISSNER            Yeah, yeah, yeah, yeah, yeah.
  LIM                 But yeah but I thought it was pretty crazy if you can’t as the authority
                      you come to me so hard and just say you just want everything. Right?
                      You just want everything and then, and then, and then you say just
                      because you cannot prove to me—you don’t have the documents.
  LEISSNER            Yeah.
  LIM                 I thought that was pretty crazy.
  LEISSNER            Yeah. That’s really—that’s sad.
  LIM                 Yeah. But, uh, but, uh you where you are, they are not even asking
                      that? They are not even bothered, right?
  LEISSNER            They are bothered. You know, people are bothered. But, I think they
                      are talking. They happily talking to my lawyers. And I think that’s,
                      that the best way for me to handle it—so keep it away from my
                      family, keep it away from me. And, you know, the lawyers can
                      handle and speak to them. So, sorry—
  LIM                 Oh, I see.
  LEISSNER            —that was a new update from my iPhone. [laughter] that was just
                      popped up.
  LIM                 [Laughter].
  LEISSNER            Yeah, no, so I think, that’s the most comfortable for me as well, I
                      have to say.
  LIM                 Mm. Mm. that’s good, that’s good. At least, you kept yourself, you
                      know, and then back to work and all that thing.
  LEISSNER            Yeah. Correct.


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  LIM                 Okay, okay. Okay.
  LEISSNER            And, you know the one thing I didn’t tell you. Some people here
                      worried, you know, about my safety also because they thought
                      between our young friend, you know, the Abu Dhabis and people,
                      you know, this could be dangerous. Especially with when he, and we
                      thought he put out that news that I was, you know, in plea
                      discussions and whatever, you know. So, we thought it could be a
                      little bit dangerous, you know, especially if he’s in China or some
                      places. You never know, right? Life is very inexpensive there. Or
                      Abu Dhabi, his friends there, life is inexpensive. So, we were worried
                      about that for a while.
  LIM                 Are you serious? Wow, but is that okay now? Is it better for you
                      now?
  LEISSNER            Nothing has happened in the last three months, you know, so, uh, you
                      know, going by that we feel we feel more comfortable, but you never
                      know of course, right? So.
  LIM                 Right. But no, um, not according to the lady master. You’re going to
                      do one more. [laughter]
  LEISSNER            Okay, well.
  LIM                 You’re going to do more than what you have now.
  LEISSNER            That’s good news, that’s good news for me, you know, to have, uh, to
                      have that in place.
  LIM                 Right right right, yeah.
  LEISSNER            The fung shui master.
  LIM                 Yeah, yeah.
  LEISSNER            Well,
  LIM                 Okay.
  LEISSNER            Please feel free—
  LIM                 I’m glad to hear.




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  LEISSNER            Feel free to reach out anytime, Hwee Bin. You know, in the
                      mornings, in the mornings I normally take the boys to school, so
                      that’s when I get stuck in traffic. And that’s—
  LIM                 Oh, the two boys, the two young boys. Okay.
  LEISSNER            Yeah, they go to the same school.
  LIM                 Is the little boy going to school as well?
  LEISSNER            Yes.
  LIM                 Good.
  LEISSNER            Preschool—
  LIM                 Such a big boy now.
  LEISSNER            —three and a half years old. three and a half years old. So he’s going
                      to preschool and Kenzo is going to the same school. And he’s in like
                      4th grade or something, so.
  LIM                 This is such a—this is so much better for you now that you actually
                      missed out on all that family life before that. You were working too
                      hard. You were working too hard.
  LEISSNER            Yeah, I know. Now finally now finally I’m a home man, I’m a family
                      man. Took many years to get there.
  LIM                 Yes, yes, yes. And I think it’s good, it’s good. It’s very good. At
                      least, you know, having family around is very different, right?
  LEISSNER            Yeah, for sure.
  LIM                 Having family around is very different.
  LEISSNER            Yeah, totally.
  LIM                 Yeah. Yeah. Okay. Okay, okay I’m telling you, I’m telling you–what
                      I’ll do is I’ll try to reach out to her myself and then ask her whether
                      she still has any form of our documents prior to all those things and
                      then we’ll see how it goes from there.
  LEISSNER            Okay. I think that’s perfect, Hwee Bin.
  LIM                 [U/I]. Yeah yeah yeah.




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  LEISSNER            If you do hear anything from young friend that I should be concerned
                      about or anything—any rumblings, let me know. You know, because,
                      maybe Terrence–
  LIM                 Mm. Definitely
  LEISSNER            –because you guys have a good, you’re on the ground with that gang.
  LIM                 Yes, we hear, um, um, people talk, we hear rumors. But sometimes, I
                      do not know. But last time I thought I saw in the papers right, um, not
                      the papers, the web—this web Malaysia Inside.
  LEISSNER            Mhm.
  LIM                 That they were saying that he was also, uh, he was also trying to
                      strike a deal, right? Or something like that, on the firm—throw the
                      firm under the bus, or something like that. So…
  LEISSNER            You mean, the firm.
  LIM                 That was the last one.
  LEISSNER            The firm being, you know. Goldman Sachs?
  LIM                 Yeah, isn’t it? Oh, it was all over the news in Malaysia.
  LEISSNER            Jho was trying to throw the firm under the bus?
  LIM                 Mm. Mm.
  LEISSNER            I didn’t see that news. I didn’t see that news.
  LIM                 Oh, it was all over the, uh, Malaysia. And I think it also came out in
                      Bloomberg.
  LEISSNER            I see, okay, I’ll check that out.
  LIM                 Yeah, yeah, yeah, yeah. You can check that out. It was also in
                      Bloomberg but I saw it in Malaysia inside quoting Bloomberg.
  LEISSNER            Got you, got you.
  LIM                 Mm mm.
  LEISSNER            K that’s interesting.
  LIM                 So, so, which, I think probably that should be true because it’s out in
                      the web, so that might just be true, so, that was his direction of
                      moving.
  LEISSNER            Jho’s direction. Mm.


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  LIM                 After supposedly the [U/I] got stuck in Malaysia. That was the
                      direction he was taking. Yeah, yeah, yeah.
  LEISSNER            Interesting. Interesting
  LIM                 But, I, I, I, want to believe it’s true.
  LEISSNER            Right, got you. And do you guys still see Terry from time to time or
                      has he gone underground as well? Totally underground.
  LIM                 I—when was the last time—I think we saw him, I think it was last
                      year, you know, the last time I saw him.
  LEISSNER            Wow.
  LIM                 Mm. It was quite some time ago, yeah, so I do not, I don’t know so
                      much about that really. I saw him probably in December last year.
  LEISSNER            Hm.
  LIM                 Yeah, yeah. Yeah.
  LEISSNER            Does Boon-kee ever? [CROSS TALK]
  LIM                 I think at that time he was--
  LEISSNER            Does Boon-Kee ever show up in Malaysia? No nothing huh, so sad
                      huh?
  LIM                 Never.
  LEISSNER            So sad.
  LIM                 No, that was even further than that. That was even before the, uh, the
                      incident in Singapore.
  LEISSNER            Right, right.
  LIM                 Remember the incident in Singapore?
  LEISSNER            Yes, yes, of course.
  LIM                 Never did after that, hm, hm. Never did after that, so that was pretty.
  LEISSNER            Yeah, I tried to reach out—
  LIM                 Not even a phone call not even a text. You did?
  LEISSNER            Yeah, I tried to reach out to her and I never heard back from her,
                      either.
  LIM                 The last, the last, the last article came out, right? On Bloomberg.
  LEISSNER            Mhm.


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  LIM                 Saying that, uh, she was asked, right? Something like that.
  LEISSNER            She was interviewed
  LIM                 That was in Singapore.
  LEISSNER            Yes, she was interviewed, that’s what it said. [U/I] see that.
  LIM                 Mm. Mm. Mm. But, the good thing is you know, you’re getting back
                      to your usual self. Getting, getting, getting there. Almost there,
                      almost there.
  LEISSNER            [laughter] Thank you.
  LIM                 So that’s good. You keep yourself very very active and doing, going
                      around. I think that’s very important. And it’s very good to hear.
  LEISSNER            I keep myself under the radar screen and quiet though, you know, so.
                      Other than that, a lot of time with the family, which is the best.
  LIM                 That’s good.
  LEISSNER            Yeah, exactly.
  LIM                 Good to hear that. [laughter]
  LEISSNER            Well, tell Rog good luck. Tell Roger good luck with, um, with
                      Celsius. We need his help—because that’s going to be an import--
  LIM                 Yes I will I’ll tell him that. And [U/I] concentrate on doing that too.
                      And hoping to get back to many other things. Oh my gosh. [laughter]
  LEISSNER            Yeah. One of these days. One of these days, it will be normal again.
  LIM                 Mm. I’m glad—I’m really glad all is well there.
  LEISSNER            Yeah.
  LIM                 I get so worried not hearing from you for a while.
  LEISSNER            Yeah I know, that’s why, you know, ping me anytime you want to.
                      You know, if I can, I speak
  LIM                 Okay, okay, and its always safe to talk to you.
  LEISSNER            Yes yes, well certainly if I’m in my own little surroundings, yes.
  LIM                 [laughter] Okay, definitely, that’s great. Yeah. And I will keep
                      ourselves very safe here as well.
  LEISSNER            Please.
  LIM                 I will keep myself very safe here. Yes. Definitely, I will.


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  LEISSNER            And tell Roger all my best regards. And Victoria of course as well.
  LIM                 Yes, yeah you can hear Victoria just came into the room. [laughter]
  LEISSNER            Oh, that’s cute. That’s very cute. Alright, see you guys.
  LIM                 Okay, good.
  LEISSNER            Thanks for reaching out, okay, and be in touch. Don’t worry about it,
                      be in touch anytime.
  LIM                 Okay. Okay. Thank you.
  LEISSNER            Thank you. Bye, be good. bye,
  VICTORIA            [U/I]
  LEISSNER            Bye, Victoria. [laughter]
  LIM                 Alright bye
  LEISSNER            Bye
  LIM                 Okay.




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